
Liberty Chiropractic, P.C., as Assignee of ABUBAKARR JALLOH, Appellant,
againstMaya Assurance Company, Respondent.



Appeal from an order of the Civil Court of the City of New York, Queens County (Ulysses Bernard Leverett, J.), entered January 30, 2014. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is reversed, with $30 costs, and defendant's motion for summary judgment dismissing the complaint is denied.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint.
For the reasons stated in Harvard Med., P.C., as Assignee of Abubakarr Jalloh v Maya Assur. Co. (___ Misc 3d ___, 2016 NY Slip Op ___ [appeal No. 2014-335 Q C], decided herewith), the order is reversed and defendant's motion for summary judgment dismissing the complaint is denied.
Pesce, P.J., Aliotta and Solomon, JJ., concur.
Decision Date: October 13, 2016










